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            Exhibit 15
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              STATE OF NEW YORK                  )
                                                 )
                                                 )       ss
              COUNTY OF NEW YORK                 )




                                              CERTIFICATION



      This is to certify that the attached translation is, to the best of my knowledge and belief, a true

      and accurate translation from Spanish into English of the attached document with Bates Nos.

      CIB-000001—CIB-000002.




                                                              Lionbridge




                       259 W 30th Street, 11th Floor New York, NY 10001 +1.212.631.7432
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 Subject:      FW: greetings
            Good afternoon, Julio.

            I just want to let you know that I have ordered samples of the products delivered directly from Colombia,
            so you will have the ingredients, flavor, etc. at hand.

            I also wanted to ask if you have had a chance to draft the contract. I don't know if I mentioned that we will
            handle this project under this company name:

            ZENU Products, USA
            134 Morewood Dr.
            Smithtown, NY. 11787

            Warehouse at:
            165 Keyland Ct.
            Bohemia. NY. 11716

            The same as before, I, Wilson Zuluaga, will continue managing the new company.

            Best regards,

            Wilson.



            From: Wilson Zuluaga [mailto:WilsonZ@latinfoodus.com]
            Sent: Wednesday, August 21, 2013 5:46 p.m.
            To: 'jisidor’
            Subject: RE: greetings


            Colombian chorizo, ingredients.

            See pic attached.

            From: jisidor [mailto:jisidor@cibaomeat.com]
            Sent: Wednesday, August 21, 2013 4:59 p.m.
            To: Wilson Zuluaga
            Subject: RE: greetings

            Thank you for the information. I have attached the payment receipt.
            I will send the contract over to you in a few minutes so you can review it.

            Julio Gaspar Isidor
            General Manager
            XXX-XX-XXXX
            ----Original Message----
            From: Wilson Zuluaga




                                                                                  FOR ATTORNEY’S EYES ONLY
                                                                                                  CIB-000001
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                                                        FOR ATTORNEY’S EYES ONLY
                                                                        CIB-000002
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  *\




 jteidor

 From:        ’^Ison Zuluaga" <Wil9on2®latinfoodu«.com>
 To;          <jisidorOcibaomeatcom>
 Sant:        Friday, August 23. 2013 11;46 AM
 Subjact:     FW saludos
           Buenas tardes Julio.

        Para comentarte que mande a traer muestras de los productos directamente de Colombia- para
        que tengas cn mano los ingredients, sabor, etc

        Aprovecho tambidn para preguntarte si tuvistc oportunidad de elaborar el contrato. No se si te
        comente que este proyecto lo vamos a manejar bajo la empresa:

        ZENU Products, USA
        134 Morewood Dr.
        Smitfitown, NY. 11787

        Warehouse at:
        165 Keyland Ct.
        Bohemia, NY. 11716

        Igual. yo, Wilson Zuluaga, continuo gerenciando la nueva en^resa.

        Cordial Saludo.

        Wilson.


        From: Wilson Zuluaga rmaitto;WllaonZOIatinfQQdus.comI
        Sent: Wednesday, August 21,2013 5:46 PH
        To: 'jiskjor'
        Subject: RE: saludos

        Chorizo colombtano, ingredients:

        See pic attached.


        From: Jisidor rmal>to:tiakjQr^baomeetcofn1
        Sent: Wednesday, August 21, 2013 4:59 PM
        To: Wilson Zuluaga
        Subject: Re: saludos

        Gracias por la informacion, anexo te estoy enviando el recibo de page.
        En unos minutos te enviare el contrato para tu revision.                            EXHIBIT

        Julio Gaepar laidor
        General Manager
        XXX-XX-XXXX
            — Odglnal Meaeage —
            From: VS^Ison Zuluaoa
                                                                          FOR ATTORNEYS EYES ONLY
                                                                                      CIB-000001
                                                                                              8/28/2013
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        Page 1 Translation;

        From: Wilson Zuluago
        To; )ulio
        Subject: Salutation

        Good afternoon Julio.

       I am letting you know that I am going to have products send directly from Colombia
       to you so you can have the ingredients in your hand, flavor, etc.

       1 would also like to take the opportunity to see if you had time to elaborate on the
       contract I don't know if I commented that for this project we will be handling
       everything under this company name:

       Zenu Products, USA
       134 Morewood Dr.
       Snithtown, NY 11787

       Warehouse at:
       165 Keyland CT
       Bohemia. NY 11716

       As well. I, Wilson Zuluago, will continue managing the new company.

       Cordially,

       Wilson




                                                                      FOR ATTORNEYS EYES ONLY
                                                                                  CIB>000002
